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                 4                              UNITED STATES DISTRICT COURT
                 5                                     DISTRICT OF NEVADA
                 6                                                ***
                 7    EB HOLDINGS II, INC., et al.,                      Case No. 2:20-CV-2248 JCM (NJK)
                 8                                       Plaintiff(s),                   ORDER
                 9          v.
               10     ILLINOIS NATIONAL INSURANCE
                      COMPANY, et al.,
               11
                                                       Defendant(s).
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               13
               14            Presently before the court is Charles C. Lemley’s (“petitioner”) verified petition for
               15     permission to practice pro hac vice. (ECF No. 17). Local Rule IA 11-2 provides that
               16     “[a]pplications must be by verified petition on the form furnished by the clerk.” LR IA
               17     11-2(a) (emphasis added). Petitioners are not permitted to alter or amend the form in any
               18     way. It appears that petitioner changed the spacing and pagination of the clerk’s form. And
               19     additionally, prompts five, six, and seven are unanswered. (ECF No. 17 at 3).
               20            Accordingly,
               21            IT IS HEREBY ORDERED, ADJUDGED, and DECREED that petitioner’s verified
               22     petition for permission to practice pro hac vice (ECF No. 17) be, and the same hereby is,
               23     DENIED.
               24     ...
               25     ...
               26     ...
               27     ...
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James C. Mahan
U.S. District Judge
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                1            IT IS FURTHER ORDERED that petitioner shall refile a petition on the form
                2     furnished by the clerk in compliance with LR IA 11-2(a) within fourteen (14) days from the
                3     entry of this order. If petitioner does not comply with this 14-day deadline, he shall again
                4     pay the admission fee for any refiled verified petition.
                5            DATED January 11, 2021.
                6                                                 __________________________________________
                                                                  UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                 -2-
